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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA,                                      CONSENT TO PROCEED BY VIDEO OR
                                                                TELE CONFERENCE
                        -against-
                                                                    -CR-

                                                                20mjlll8
JORGE ENCARNACION AVALOS/

                                      Defendant(s),
                                                 -X



Defendant Jorge Encarnacion Avalos _ hereby voluntarily consents to
participate in the following proceeding via X videoconferencing or X teleconferencing:


       Initial Appearance Before a Judicial Officer


 X Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
       indictment Form)


       Bail/Detention Hearing


       Conference Before a Judicial Officer




 /s/Jorge Encarnacion Avalos
Defendant's Signature                                 Defend^t's CourfseFs Signature
(Judge may obtain verbal consent on                         /
Record and Sign for Defendant)


 Jorge Encarnacion Avalos                               Jason Ser
Print Defendant's Name                                Print Counsel's Name




This proceeding was conducted by reliable videpf^or telephone pb^fe^Rdngte^hncil



Date                                                  U.^EfTsTnctJudge/U.S. Magistrate Judge
